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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   STATE OF WASHINGTON, et al.,                          CASE NO. C25-0127-JCC
10                           Plaintiffs,                   MINUTE ORDER
11           v.

12   DONALD TRUMP, et al.,

13                           Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          On February 6, 2025, the Court entered an order preliminarily enjoining Defendants from
18   enforcement and implementation of the President’s Executive Order entitled, “Protecting the
19   Meaning and Value of American Citizenship.” (See generally Dkt. No. 114.) The Individual
20   Plaintiffs subsequently moved for reconsideration of the Court’s order. (Dkt. No. 115 at 1.)
21   Specifically, they ask the Court to amend its order to include a grant of provisional certification
22   for the proposed class. (See id. at 2.) Separately, Defendants have noticed their appeal of the
23   Court’s preliminary injunction order. (Dkt. No. 116 at 1.)
24          Regarding the Individual Plaintiffs’ motion for reconsider (Dkt. No. 115), they have
25   misinterpreted the Court’s statements at footnote 9 of its order. (See Dkt. No. 114 at 12.) To be
26   clear, the Court has not yet decided the issue of class certification, provisional or otherwise.


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 1   When it issued its order (Dkt. No. 114), the Court intended that the parties would brief the

 2   motion for class certification (Dkt. No. 58) according to the Court’s usual briefing schedule. See

 3   LCR 7(d)(4). However, in light of Defendants’ notice of appeal (Dkt. No. 116), the Court finds

 4   that a stay of this matter is appropriate. See Clinton v. Jones, 520 U.S. 681, 706 (1997) (citing

 5   Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)) (a district court has broad discretion to stay a

 6   proceeding, incidental to the inherent power to control its own docket).

 7          The Court therefore VACATES the present case management schedule and STAYS this

 8   matter, including all outstanding motions, pending the outcome of Defendants’ appeal. The
 9   parties are DIRECTED to provide the Court with a joint status report within 14 days of the

10   disposition of Defendants’ current appeal.

11          DATED this 7th day of February 2025.
                                                             Ravi Subramanian
12                                                           Clerk of Court
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                                                             s/Kathleen Albert
14                                                           Deputy Clerk

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